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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA
                                      Civil Division


                                                )
SUE LEE,                                        )
                                                )
               Plaintiff,                       )
                                                )
v.                                              )    Civil Action No. 1:21-cv-1006
                                                )
PUBLIC COMPANY ACCOUNTING                       )
OVERSIGHT BOARD,                                )
                                                )
And                                             )
                                                )
WILLIAM D. DUHNKE III                           )
                                                )
               Defendants.                      )
                                                )


                                   NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. §§ 1441 and 1446, Defendants Public Company Accounting

Oversight Board (PCAOB”) and William D. Duhnke III (collectively, “Defendants”), by

counsel, hereby remove this action, Lee v. Public Company Accounting Oversight Board, et al,

Case No. 2021-CA-000704-B, from the Superior Court of the District of Columbia. As grounds

for the removal, Defendants state as follows:

       1.      On or about March 5, 2021, Plaintiff filed the aforementioned civil action in the

Superior Court of the District of Columbia.

       2.      Plaintiff served Defendant PCAOB with a Summons and file-stamped copy of the

Complaint on March 22, 2021.

       3.      Undersigned defense counsel accepted service of process on behalf of Defendant

Duhnke on March 23, 2021.
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        4.      This Notice of Removal is filed within 30 days of the date on which Plaintiff

effected service of the Summons and Complaint on Defendants and is otherwise timely under 28

U.S.C. §1446(b).

        5.      True and correct copies of the Summonses and the Complaint, and all other

documents filed in or docketed in the state court, are attached. See Ex. 1 (Complaint); Ex. 2

(Summonses); Ex. 3 (Superior Court Civil Information Sheet).

        6.      This action is subject to removal pursuant to 28 U.S.C. § 1441(a) because this

Court has original jurisdiction over claims by and against the PCAOB.

        7.      The PCAOB is a nonprofit corporation created by the Sarbanes–Oxley Act of

2002 (the “Act”). The PCAOB’s primary mission is to oversee the audits of public companies

and SEC-registered brokers and dealers in order to protect investors and further the public

interest in the preparation of informative, accurate, and independent audit reports. See 15 U.S.C.

§ 7211(a); see also https://pcaobus.org/about/mission-vision-values

        8.      Section 101 of the Act expressly states that the PCAOB has the power “to sue and

be sued, complain and defend, in its corporate name and through its own counsel, with the

approval of the [Securities and Exchange] Commission, in any Federal, State, or other court.” 15

U.S.C. § 7211(f)(1).

        9.      The Securities and Exchange Commission has provided the PCAOB approval to

participate in this litigation.

        10.     Section 101 of the Act gives the United States District Courts original jurisdiction

over matters in which the PCAOB is a party. See American Nat'l Red Cross v. S.G., 505 U.S.

247 (1992). In American Red Cross, the Supreme Court held that because the Red Cross’s

charter granted it the power “to sue and be sued in courts of law and equity, State or Federal,
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within the jurisdiction of the United States,” the organization could remove a state-law tort

action to federal court. Id. at 255-57. The Court reasoned:

        In expressly authorizing the organization to sue and be sued in federal courts, . . .
        the provision extends beyond a mere grant of general corporate capacity to sue,
        and suffices to confer federal jurisdiction.

Id. at 257.

        11.      For this reason, this Court has original jurisdiction over Plaintiff’s claim against

PCAOB arising under the District of Columbia Human Rights Act (DCHRA), and Defendants’

removal is proper. Id. at 255-57.

        12.      In addition to having original jurisdiction over Plaintiff’s DCHRA claim against

PCAOB, this Court also has supplemental jurisdiction under 28 U.S.C. § 1367(a) over Plaintiff’s

DCHRA claim against Defendant Duhnke because it forms part of the same case or controversy

as the claim against PCAOB.

        13.      As required by 28 U.S.C. §1446(d), Defendants are providing contemporaneously

herewith a true and correct copy of this Notice of Removal to the Plaintiff and to the Clerk of the

Superior Court of the District of Columbia. A true and correct copy of the Notice of Notice of

Removal to be filed in the Superior Court is attached hereto as Exhibit 4.

        WHEREFORE, Defendants hereby remove the pending state court action to the United

States District Court for the District of Columbia pursuant to 28 U.S.C. §§1441 and 1446.
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                           Respectfully Submitted,


                           /s/
                           Michael J. Lorenger (D.C. Bar 454146)
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                           Counsel for Defendants PCAOB and William
                           Duhnke III
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                                CERTIFICATE OF SERVICE

        I hereby certify that on this 12th day of April I filed the foregoing with the Court’s
electronic filing system, which will automatically provide notice to all counsel of record. In
addition, I served a copy on Plaintiff’s counsel by email:

       David Moon
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       Sarah Mugmon
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       The Lipp Law Firm
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                                             /s/
                                             Michael J. Lorenger
